        Case 4:18-cr-00195-SDJ-KPJ Document 1 Filed 09/18/18 Page 1 of 1 PageID #: 1

AO 91 (Rev. 11/11) Criminal Complaint


                                     United States District Court
                                                             for the
                                                  Eastern District of Texas                          M SEP I 8 2018
                 United States of America                       )                              >•
                                                                                               »¦    Clerk, U.S. District C urt
                                v.                              )                                           Texas Eastern
                                                                )      Case No.

             GREGORY DOUGLAS BENSON                             )                 4:18MJ362
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
          I, the complaina t in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of AUGUST 21,2018 in the county of C0l-LIN i thc
      Eastern District of Texas , the defendant(s) violated:

             Code Section Offense Description
 18 U.S.C. § 922(g)(3) Possession of a Firearm by an Unlawful User of a Controlled Substance




          This criminal complaint is based on these facts:


 See attached Affidavit.




          sf Continued on the attached sheet.




 Sworn to before me and signed in my presence.



 Date: O/lftllg
 City and state: PLANO, TEXAS
                                                                                          Printed name and title
